                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 TROYCE MANASSA, individually and on
 behalf of all others similarly situated,

                    Plaintiff,

         v.
                                                         Case No. 1:20-cv-03172-RLY-MJD
 NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION,

                    Defendant.

                   JOINT REPORT ON THE STATUS OF DISCOVERY

       Pursuant to the Court’s October 4, 2021, Scheduling Order (Dkt. No. 47) and May 6, 2022

Minute Entry (Dkt. No. 97), the parties jointly submit the following Joint Report on the Status of

Discovery.

1. A detailed description of all discovery completed within the preceding 28 days.

Plaintiff:

       Plaintiff responded to Defendant NCAA’s Third Set of Requests for Production on May

17, 2022, and produced documents PLFS-TM-000041 through PLFS-TM-000468.

The NCAA:

       Plaintiff’ responded to the NCAA’s Third Set of Requests for Production on May 17, 2022

and produced documents.

2. A detailed description of all discovery presently scheduled or pending, including the due
   dates for any pending discovery requests and the scheduled dates for any depositions,
   and the identity of the counsel responsible for completing such discovery.

Plaintiff:

       The Plaintiff is still awaiting substantial data and document production from Defendant



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NCAA. Plaintiff filed a motion to compel Defendant’s document requests on May 19, 2022 (Dkt.

98). Defendant’s response is due June 2, 2022.

       The Plaintiff is continuing to work with third-party HBCUs for production of documents

in response to subpoenas.

       Given the recusal of Fegan Scott attorneys pending resolution of the Defendant’s Motion

to Disqualify Fegan Scott, May Lightfoot, PLLC attorneys Je Yon Jung and LaRuby May are

exclusively handling all substantive discovery matters.

The NCAA:

       The parties exchanged proposed extensions of the deadlines under the current Case

Management Order. The parties are continuing to negotiate extensions, with the intention of filing

a joint submission to the Court requesting the entry of agreed extended case deadlines.

       The NCAA served a subpoena on Savannah State University and is awaiting a formal

response and document production from the university.

       The NCAA requests an update on the status of the subpoenas that Plaintiff served on

Howard University and Southern University, as the NCAA does not know whether either entity

responded to the subpoenas, or produced documents.

       The NCAA’s counsel, Chisara Ezie-Boncoeur, Brian Casey, and Alicia Raines Barrs are

responsible for the above-listed items.

3. A detailed description of any discovery disputes presently pending, including the status
   of the resolution of the dispute and the identity of the counsel responsible for resolving
   the dispute.

Plaintiff:

       The Defendant filed a Motion to Disqualify Fegan Scott on May 23, 2022 (Dkt. 101) and

Fegan Scott’s Opposition was filed on May 31, 2022.



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       Given the pending discovery disputes and disqualification motion, the parties have

exchanged proposed dates for modification of the Court’s current scheduling order. The parties

anticipate filing a joint proposal or separate proposals this week, preferably prior to the Discovery

Status Conference on June 2, 2022.

       Given the recusal of Fegan Scott attorneys pending resolution of the Defendant’s Motion

to Disqualify Fegan Scott, May Lightfoot, PLLC attorneys Je Yon Jung and LaRuby May are

exclusively handling all substantive discovery matters.

The NCAA:

       June 2, 2022 is the NCAA’s deadline to respond to Plaintiff’s pending Motion to Compel

(see Dkt. No. 98).

       Pursuant to the briefing schedule set by the Court, May 31, 2022, is the deadline for

Plaintiff’s counsel FeganScott LLC to respond to the pending Motion to Disqualify (see Dkt. No.

100), and June 3, 2022 is the NCAA’s deadline to file a reply. The NCAA’s counsel Chisara Ezie-

Boncoeur and Brian Casey are responsible for the above-listed items.

4. A detailed description of all discovery that is planned to be completed within the 28-day
   period following the report, including the identity of the counsel responsible for
   completing such discovery.

Plaintiff:

       Plaintiff will review productions produced by Defendants to date and determine whether

additional motions to compel will be necessary, after exhausting meet and confer requirements.

The Defendant delayed production for several weeks because of the disqualification issue. Plaintiff

will begin scheduling depositions after substantial document and data production have been

provided.




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        Given the recusal of Fegan Scott attorneys pending resolution of the Defendant’s Motion

to Disqualify Fegan Scott, May Lightfoot, PLLC attorneys Je Yon Jung and LaRuby May are

exclusively handling all substantive discovery matters.

The NCAA:

        Following requests for written assurances that Plaintiff’s co-counsel at May Lightfoot are

not implicated by the conflict of issue subject of the pending Motion to Disqualify (Dkt. No. 100),

the NCAA is resuming rolling document productions on Plaintiff’s counsel through counsel at

May Lightfoot.

        Following its review and analysis of Plaintiff’s responses to the written discovery requests

served thus far, the NCAA is preparing what it anticipates to be a final set of written discovery.

The NCAA is also assessing the potential need to move to compel deficient responses from

Plaintiff to the NCAA’s interrogatories and requests for production. The NCAA has provided

Plaintiff with a Rule 26(f) letter and may seek to meet and confer regarding the issues raised in

this letter in the future.

         The NCAA’s counsel, Chisara Ezie-Boncoeur, Brian Casey, and Alicia Raines Barrs are

responsible for the above-listed items.

5. A description of all known discovery remaining to be completed in this matter, including
   a proposed timetable for the completion of such discovery and the identity of the counsel
   responsible for completing such discovery.

Plaintiff:

        The Defendant delayed production for several weeks because of the disqualification issue.

Plaintiff will begin scheduling depositions after substantial document and data production have

been provided.

        Given the recusal of Fegan Scott attorneys pending resolution of the Defendant’s Motion



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to Disqualify Fegan Scott, May Lightfoot, PLLC attorneys Je Yon Jung and LaRuby May are

exclusively handling all substantive discovery matters.

The NCAA:

       The NCAA will depose Plaintiff after both parties have completed their document

productions and written discovery.

       The NCAA may depose one or more representatives of Savannah State University;

however, a review of the subpoenaed documents from this institution (which remain forthcoming),

will inform that decision. The NCAA also anticipates depositions of other third-party fact

witnesses.

       The NCAA anticipates taking expert discovery regarding liability, damages and class

certification issues. The parties are negotiating a timeframe to complete expert discovery that they

intend to jointly present to the Court. The NCAA’s counsel, Chisara Ezie-Boncoeur and Brian

Casey, are responsible for developing the NCAA’s discovery plan.

6. Any other discovery issues any party believes should be brought to the attention of the
   Court so as to avoid any further delays in the completion of discovery in this matter.

Plaintiff: None

The NCAA: None.




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    DATED: May 31, 2022                            Respectfully submitted,


                                                   By: /s/ Je Yon Jung

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Attorneys for Defendant the NCAA




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on counsel for all parties of record through the Court’s electronic filing system

and will send notice of filing to any of the following registered users:


       Date: May 31, 2022                               /s/ Je Yon Jung
                                                       Je Yon Jung




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